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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                Plaintiff,
                                                               CASE NO: 4:15MJ3011
       vs.

ANTHONY SHAQUILLE HARRIS,                                      DETENTION ORDER
              Defendant.


       The defendant is charged with a drug crime under the Controlled Substances Act (21
U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or more years in
prison. On the government's motion, the court held a detention hearing under the Bail Reform
Act, 18 U.S.C. § 3142(f). The court concludes the defendant must be detained pending a status
hearing.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.
        Based on the evidence presented and information of record, the court finds by a
preponderance of the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's release would pose
a risk of harm to the public

        Specifically, the court finds that the defendant is addicted or abuses mood-altering
chemicals and is likely to continue such conduct and violate the law if released; lacks a stable
residence; has limited employment contacts; has failed to appear for court proceedings in the
past; and conditions which restrict Defendant’s travel, personal contacts, and possession of
drugs, alcohol, and/or firearms; require reporting, education, employment, or treatment; or
monitor Defendant’s movements or conduct; or any combination of these conditions or others
currently proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate the
risks posed if the defendant is released.
                                 Directions Regarding Detention

       The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of the
United States Court or on request of an attorney for the Government, the person in charge of the
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corrections facility must deliver the defendant to the United States marshal for a court
appearance.

       Dated March 10, 2015.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
